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                IN THE UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF ARKANSAS
                         WESTERN DIVISION


UNITED STATES OF AMERICA


VS.                            4:14CR00188-10 JLH


RACHEL LEWIS


                                      ORDER

      On October 15, 2014, the Court entered an Order Setting Conditions of

Release. Doc. 187. Defendant, who resided in Atlanta, was placed on an OR bond

in the third-party custody of her father, who resides in Little Rock.

      On October 16, 2014, Defendant filed a Motion requesting permission to

move back to Atlanta in the third-party custody of her sister. Doc. 185. On October

22, 2014, the Court entered an Order denying Defendant’s Motion, because of her

sister’s prior criminal history. Doc. 192.

      On October 28, 2014, Defendant filed a Second Motion to Modify

Conditions of Release. Doc. 199. She requests permission to reside in the Atlanta

area in the third-party custody of her brother, Mr. Eric Johnson. She also indicates

that the Government has no objection.
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      The Pretrial Services Office has informed the Court that Mr. Johnson is an

acceptable third-party custodian who does not have any prior criminal history.

Under these circumstances, the Court will grant Defendant’s Motion.

      IT IS THEREFORE ORDERED that Defendant’s Second Motion to Modify

Conditions (doc. 199) is GRANTED. Mr. Eric Johnson, 3506 Creekview Drive,

Union City, GA 30291, is APPOINTED as Defendant’s third-party custodian. All

other conditions set forth in the Court’s October 15, 2014 Order Setting Conditions

of Release shall remain in effect.

      Dated this 4th day of November, 2014.



                                         ___________________________________
                                         UNITED STATES MAGISTRATE JUDGE




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